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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.:

 NAVED SAMI KHAN,

                Plaintiff,
 v.

 LCC INTERNATIONAL, INC.,

             Defendant.
 __________________________________/

                                          COMPLAINT
                                      {Jury Trial Demanded}

        Plaintiff, NAVED SAMI KHAN, brings this action against Defendant, LCC

 INTERNATIONAL, INC., pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C § 201 et

 seq., and alleges as follows:

 1.     Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

 2.     At all times material hereto, Plaintiff NAVED SAMI KHAN was a resident of the State of

 Florida and an “employee” of Defendant as defined by the FLSA.

 3.     At all times material hereto, Plaintiff engaged in interstate commerce on a regular and

 recurring basis within the meaning of the FLSA.

 4.     At all times material hereto, Defendant, LCC INTERNATIONAL, INC., was a foreign

 profit corporation engaged in business in South Florida, engaged in commerce in the field of

 wireless network consulting services, at all times material hereto was the “employer” of Plaintiff

 as that term is defined under statutes referenced herein, engaged along with its employees in

 interstate commerce, and has annual gross sales and/or business volume of $500,000 or more.




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 5.     In justifiable reliance upon Defendant’s representations and promises, Plaintiff NAVED

 SAMI KHAN accepted employment and began working for Defendant as a drive tester.

 6.     Defendant failed to pay Plaintiff the full and proper overtime wages of 1.5 times his regular

 hourly rate for all hours worked over 40 each week during his employment.

 7.     The records, if any, concerning the date range of Plaintiff’s employment, the number of

 hours Plaintiff actually worked, and the compensation actually paid to Plaintiff are in the

 possession and/or control of Defendant; however, Plaintiff has attached a statement of claim as

 Exhibit A to provide initial estimates of the damages. These amounts may change as Plaintiff

 engages in the discovery process.

 8.     Defendant has knowingly and willfully refused to pay Plaintiff his legally-entitled wages.

 9.     Plaintiff has complied with all conditions precedent to bringing this suit, or same have been

 waived or abandoned.

 10.    Plaintiff has retained the services of the undersigned and is obligated to pay for the legal

 services provided.




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                                     COUNT I
                 VIOLATION OF FAIR LABOR STANDARDS ACT (“FLSA”)

 11.     Plaintiff realleges and incorporates the allegations set forth in paragraphs 1-10 above as if

 set forth herein in full.

 12.     Plaintiff alleges this action pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 216 (b),

 that Plaintiff is entitled to: (i) time-and-a-half overtime pay and (ii) liquidated damages pursuant

 to the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.

 13.     Plaintiff seeks recovery of damages as referenced above and further seeks interest, costs,

 and attorneys’ fees pursuant to 29 U.S.C. § 216(b).

         WHEREFORE, Plaintiff demands judgment against Defendant, plus costs, reasonable

 attorneys’ fees, and such other remedy as the court deems just and appropriate.

                                               Respectfully submitted,

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